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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
----------------------------------------------------------------------x
MERYL BRODSKY,

                                                         Plaintiff,

                            -against-
                                                                              NOTICE OF MOTION
THE NEW YORK CITY CAMPAIGN FINANCE
BOARD, ON BEHALF OF ZACHARY W. CARTER,                                        17-CV-3186 (AJN) (JLC)
CORPORATION COUNSEL OF THE CITY OF NEW
YORK

                                                       Defendant.
----------------------------------------------------------------------x

                 PLEASE TAKE NOTICE, that upon the accompanying Memorandum of Law

in Support of Defendant’s Motion to Dismiss the Complaint and Declaration of Agnetha E.

Jacob, dated August 17, 2017, in support of the same, Defendant will move this Court, at the

United States Courthouse for the Southern District of New York located at 40 Foley Square,

New York, NY 10007, at a date and time to be designated by the Court, for an Order pursuant to

Federal Rule of Civil Procedure 12(b)(6) dismissing the Complaint in its entirety, and awarding

Defendant such other and further relief as the Court deems just and proper.

Dated:     New York, NY
           August 17, 2017

                                                              ZACHARY W. CARTER
                                                              Corporation Counsel of the
                                                                 City of New York
                                                              100 Church Street
                                                              New York, NY 10007
                                                              Attorney for Defendant
                                                              Tel: (212) 356-0881
                                                              Fax: (212) 356-8760
                                                              ajacob@law.nyc.gov

                                                              By:     /s/ Agnetha E. Jacob
                                                                       Agnetha E. Jacob
                                                                       Assistant Corporation Counsel
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To:   Meryl Brodsky
      150 East 61 Street, Apt. #11k
      New York, NY 10065




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